              Case 2:17-cv-01830-RSL Document 51 Filed 05/28/19 Page 1 of 2



                                                                        The Honorable Robert S. Lasnik
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                                UNITED STATES DISTRICT COURT
 7                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 9   AMAZON.COM, INC., a Delaware
     corporation, AMAZON TECHNOLOGIES,                    CASE NO. 2:17-cv-01830-RSL
10   INC., a Nevada corporation; and AMAZON
     SERVICES, LLC, a Nevada limited liability            ORDER GRANTING MOTION TO LIFT
11   company,                                             STAY AND TO DISMISS ALL CLAIMS
                                                          PURSUANT TO RULE 41(A)(2)
12
                                   Plaintiffs,
13
                    v.
14
     FBA STORES, LLC, a limited liability
15   company; FBA DISTRIBUTORS, LLC, a
16   limited liability company; FBA
     ADVANTAGE, LLC, a limited liability
17   company; AWS, LLC, a limited liability
     company; ONLINE AUCTION LEARNING
18   CENTER, INC., a corporation;
     CHRISTOPHER BOWSER, an individual;
19   ADAM BOWSER, an individual; and DOE
20   Companies 1 – 20,

21                                 Defendants.

22

23          THIS MATTER having come before the Court on plaintiffs’ unopposed Motion to Lift
24   Stay and To Dismiss All Claims Pursuant to Rule 41(a)(2) and the Court having reviewed the
25   pleadings and evidence presented and on file in this case, and the Court being fully advised as to
26   the issues presented, the Court hereby

     ORDER GRANTING MOTION TO LIFT STAY AND TO                           SUMMIT LAW GROUP PLLC
     DISMISS ALL CLAIMS PURSUANT TO RULE 41(A)(2) 1                        315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. 2:17-cv-01830-RSL                                             SEATTLE, WASHINGTON 98104-2682
                                                                                 Telephone: (206) 676-7000
                                                                                    Fax: (206) 676-7001
              Case 2:17-cv-01830-RSL Document 51 Filed 05/28/19 Page 2 of 2




 1          ORDERS, ADJUDGES AND DECREES that plaintiffs’ Motion to Lift Stay and To

 2   Dismiss All Claims Pursuant to Rule 41(a)(2) is hereby GRANTED. All claims are hereby

 3   dismissed, without prejudice.

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 5          IT IS SO ORDERED.

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            Dated this 28th day of May, 2019.
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 8                                                A
                                                  THE HONORABLE ROBERT S. LASNIK
 9                                                UNITED STATES DISTRICT JUDGE

10   Presented by:
11   SUMMIT LAW GROUP PLLC
12   Attorneys for Plaintiffs

13   By s/ Philip S. McCune
        Philip S. McCune, WSBA #21081
14      Christopher T. Wion, WSBA #33207
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     ORDER GRANTING MOTION TO LIFT STAY AND TO                      SUMMIT LAW GROUP PLLC
     DISMISS ALL CLAIMS PURSUANT TO RULE 41(A)(2) 2                  315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. 2:17-cv-01830-RSL                                       SEATTLE, WASHINGTON 98104-2682
                                                                           Telephone: (206) 676-7000
                                                                              Fax: (206) 676-7001
